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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                         12                                                                SUPPLEMENTAL ORDER RE
                               For the Northern District of California




                                                                              UBER TECHNOLOGIES, INC.;                                     LETTER FROM UNITED
                                                                         13   OTTOMOTTO LLC; and OTTO                                      STATES ATTORNEY
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          Both sides shall bring to the final pretrial conference documentation of all discovery or
                                                                         17   Court inquiries that should have elicited the information in the letter from the United States
                                                                         18   Attorney (Dkt. No. 2260-1), as well as all representations made by defendants bearing on said
                                                                         19   information. Defendants shall also bring to the final pretrial conference the letter dated May 5,
                                                                         20   2017, from Richard Jacobs’s attorney to Attorney Angela Padilla. These items are in addition
                                                                         21   to the items and witnesses required by the November 23 order (Dkt. No. 2261).
                                                                         22
                                                                         23          IT IS SO ORDERED.
                                                                         24
                                                                         25   Dated: November 25, 2017.
                                                                         26                                                            WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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